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Justice Court Precinct No. 5, Travis County, Texas / Case No. J5-CV-24-274397
Vanessa Bissereth v. Bank of America, N.A. and Javitch Block, LLC




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Plaintiff Vanessa Bissereth                               January 7, 2025
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Plaintiff Vanessa Bissereth / Robert Zimmer, Zimemr & Associates, 1108 Lavaca Street, Suite 110-187,
Austin, Texas 78701/ Tel. 512.434.0306 / zimmerlawtx@gmail.com
Defendant Bank of America, N.A. / Matthew D. Durham, McGuireWoods LLP, 2601 Olive Street, Suite
2100, Dallas, TX 75201 / Telephone: 214.932.6400 / Fax: 214.932.6499 / mdurham@mcguirewoods.com
Defendant Javitch Block / Tyler G. Lansden, 275 W. Campbell, Suite 312, Richardson, TX 75080 /
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COUNTERCLAIMS, CROSS-CLAIMS, and/or THIRD-PARTY CLAIMSǣ
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s/ Matthew D. Durham                                       January 21, 2025
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Attorney for Defendant Bank of America,N.A.
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ADDITIONAL COMMENTS (As necessary)ǣ
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